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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT
                              ATLANTA DIVISION

PAUL DURHAM, et al.,                        )
                                            )
      Plaintiff,                            )
                                            )
v.                                          )
                                            )      CIVIL ACTION FILE NO.
DAVID SHULKIN, SECRETARY OF                 )
DEPARTMENT OF VETERANS                      )
AFFAIRS                                     )
                                            )
&                                           )
                                            )
JAMES BYRNE, GENERAL                        )
COUNSEL OF THE DEPARTMENT OF                )
VETERANS AFFAIRS                            )
                                            )
                                            )
      Defendants.                           )

      PLAINTIFF’S ORIGINAL COMPLAINT FOR DECLARATORY AND

                              INJUNCTIVE RELIEF

COMES NOW, PAUL DURHAM, hereinafter “Plaintiff,” and files the following

complaint, directed to the United States Department of Veteran Affairs (hereinafter,

“VA”), and the United States Department of Veterans Affairs Office of General

Counsel (hereinafter “VA OGC”), hereinafter “Defendants,” and for cause of action,

shows the Court as follows:




                               I.INTRODUCTION
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1. This is an action by Plaintiff pursuant to the Freedom of Information Act

(hereinafter “FOIA”) 5 U.S.C. § 552, et seq, to order the production of agency

records maintained by the VA. Plaintiff seeks the documentation set forth below and

seeks this Court’s assistance to compel production of documents wrongfully

withheld from Plaintiff and to vindicate that statutory right to inspect federal agency

documents. Plaintiff asserts that there is a ”significant public interest in disclosure”

of the records requested by Plaintiff.

2. This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B),

the Freedom of Information Act, and 28 U.S.C. § 2201, the Federal Declaratory

Judgment Act.

3. The government records which Plaintiff requests are the individual claims files

(hereinafter, “C-Files”) maintained by the VA in a system of records for Veterans

making claims for Veterans Disability Compensation and/or Survivor Benefits

claims pursuant to Title 38 of the United States Code. See Exhibit A (Plaintiff’s

FOIA Request).

                         II. JURISDICTION AND VENUE.

5. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, as this

action arises under the laws of the United States, in particular, 5 U.S.C. §

552(a)(4(B), under which, “the District Court of the United States, in the district in

which the complainant resides… has jurisdiction to enjoin the agency from
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withholding agency records and to order the production of any agency records

improperly withheld from the complainant,” as Plaintiff’s residence is in this district.

                                    III. PARTIES.

6. Plaintiff is an individual, and a resident of the State of Georgia and resides at 3830

Morning Creek Dr., College Park, GA 30349.

7. Defendant David Shulkin is the Secretary of the Department of Veterans Affairs,

which is believed to maintain facilities throughout this District.

8. Defendant James Byrne is the General Counsel of the Department of Veterans

Affairs.

                                    IV. SERVICE

9. Defendant David Shulkin, Secretary of the Department of Veterans Affairs, may

be served by mailing a copy of this compliant and summons by certified mail to the

following address: U.S. Department of Veterans Affairs, 810 Vermont Avenue, NW,

Washington, DC, 20420

.10. Defendant James Byrne is the General Counsel of the Department of Veterans

Affairs, may be served by mailing a copy of this compliant and summons by

certified mail to the following address: U.S. Department of Veterans Affairs, 810

Vermont Avenue, NW, Washington, DC, 20420.
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11. The United States of America may be served by serving the U.S. Attorney for the

district in which this action is brought at Richard B. Russell Federal Building,75 Ted

Turner Dr. SW, Suite 600, Atlanta, GA 30303-3309 and by serving a copy of this

complaint and a summons by certified mail to the Attorney General of the United

States, U.S. Attorney General, 950 Pennsylvania Avenue, NW, Washington, DC

20530-0001.

                            V. FACTUAL ALLEGATIONS.

12. The FOIA requires U.S. government agencies to promptly make public records

available to any person if that person makes a request which (1) reasonably describes

the records sought and (2) complies with any applicable agency rules for making

such a request. 5 U.S.C. § 552(a)(3)(A).

13.The FOIA requires an agency to issue a final determination on any such

information request within twenty (20) business days of the date of its receipt. 5

U.S.C. § 552(a)(6)(A)(i).

14. The FOIA allows an agency to extend this determination deadline, however, by

ten (10) working days when “unusual circumstances” exist and when the agency so

notifies a requester in writing. 5 U.S.C. § 552(a)(6)(B).

15. An agency is entitled to only one (1) ten-business day extension. Id. The written

notice provided to the requester must specify the specific unusual circumstances
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justifying the extension and the date on which a final determination is expected to be

dispatched. Id.

16. To invoke a longer extension, the FOIA requires an agency to provide written

notification to the requester that (1) offers the requester an opportunity to limit the

scope of the request so that it may be processed within that time limit, or (2) offers

the requester an opportunity to arrange with the agency an alternative time frame for

processing the request. 5 U.S.C. § 552(a)(6)(B)(ii).

17. Plaintiff served, and the VA received, a FOIA Request on July 31, 2017 seeking

production of Plaintiff’s C-File. See Exhibit A.

18. The VA has not fulfilled this request.

19. Plaintiff served a timely FOIA Appeal to the VA OGC on August 30, 2017,

pursuant to 5 U.S.C. § 552(a)(6)(A)(ii). See Exhibit B. Neither the VA nor the VA

OGC has provided copies of Plaintiff’s C-file, despite having actual knowledge of

the statutory deadline to respond within 20 working days from receipt of appeal. See,

Exhibit A; Exhibit B.




       VI. FIRST CAUSE OF ACTION DECLARATORY JUDGMENT

                         (FOIA Request for Plaintiff’s C-File)
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20. Plaintiff incorporates the allegations in the foregoing paragraphs as though fully

set forth herein.

21. FOIA mandates the disclosure of the documents that Plaintiff seeks in Plaintiff’s

FOIA request to the VA.

22. The VA has not provided Plaintiff with the records.

23. The VA has not sought extension to the lawful response time under FOIA.

24. No FOIA exemptions apply to this request.

25. No exceptional or unusual circumstances preclude a response to the request

within twenty (20) business days of the request.
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26. An actual and justiciable controversy exists as to whether the VA has violated

the FOIA.

27. Plaintiff seeks declaratory judgment that FOIA entitles Plaintiff to the records it

seeks as part of its FOIA request to the VA.

28. Unless enjoined and made subject to a declaration of Plaintiff’s legal rights by

this Court, the VA will continue to violate the rights of Plaintiff and others similarly

situated by maintaining its pattern or practice of unlawfully delaying and/or denying

and/or ignoring responses to FOIA requests and appeals.

       VII. SECOND CAUSE OF ACTION FOR INJUNCTIVE RELIEF

29. Plaintiff incorporates the allegations in the foregoing paragraphs as though fully

set forth herein.

30. Plaintiff seeks for an injunction requiring the VA to provide these records in an

appropriate time frame.

          VIII. THIRD CAUSE OF ACTION FOR ATTORNEY FEES

31. Plaintiff incorporates the allegations in the foregoing paragraphs as though fully

set forth herein.

32. Plaintiff seeks the award of reasonable attorney fees for filing this action. The

applicable law provides that a “[C]ourt ay assess against the United States
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reasonable attorney fees and other litigation costs reasonably incurred in any case

under this section in which the complainant has substantially prevailed.” 5 U.S.C.

§552(a)(4)(E).

                           XI. PRAYER FOR RELIEF.




Wherefore, Plaintiff requests this Court:

1.Order Defendant to provide true copies of all requested documents without further

delay or obfuscation;

2.Expedite this proceeding as provided for in 28 U.S.C. § 1657;

3.Award Plaintiff costs and reasonable attorney fees in this action, as provided in 5

U.S.C. §552(a)(4)(E), and/or under any other appropriate federal statute; and,
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4.Grant such other and further relief as the Court, in its wisdom, may deem just and

proper.




        Respectfully submitted this 9th Day of November, 2017.1


                                                     RESPECTFULLY SUBMITTED,

                                                     /s___________________________________
                                                     WILLIAM L. NABORS JR.
                                                     Georgia Bar No. 211644
NABORS LAW GROUP
3355 Lenox Road
Suite 750
Atlanta, Georgia 30326
Telephone No: (678) 510-1730
Fax (678) 710-8957
Email: william@naborstrustlaw.com




1
 Pursuant to Local Rule 7.1, undersigned counsel hereby certifies that this document has been prepared in
compliance with Local Rule 5.1(B).
                                                         9
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DAVID SHULKIN, SECRETARY OF                     )
DEPARTMENT OF VETERANS                          )
AFFAIRS                                         )
                                                )
&                                               )
                                                )
JAMES BYRNE, GENERAL        )
COUNSEL OF THE DEPARTMENT OF )
VETERANS AFFAIRS              )
                              )
                              )
    Defendants.               )


                          CERTIFICATE OF SERVICE

      I hereby certify that on November 9, 2017, I served a true and correct copy of

PLAINTIFF’S ORIGINAL COMPLAINT FOR DECLARATORY AND

INJUNCTIVE RELIEF by depositing it in U.S. Mail with appropriate postage for

first class mail. Service was made to the following parties:




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James Byrne
General Counsel of the Department of Veterans Affairs
810 Vermont Avenue, NW
Washington, DC, 20420

David Shulkin
Secretary of the Department of Veterans Affairs
810 Vermont Avenue, NW
Washington, DC, 20420

United States Attorney for the Northern District of Georgia
Richard B. Russell Federal Building
75 Ted Turner Dr. SW
Suite 600
Atlanta, GA 30303-3309

                                              /s_________________________________
                                              WILLIAM L. NABORS JR.




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